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                                        Exhibit A


                                  Revised Proposed Order




                                            4
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )    Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )    Case No. 23-11069 (CTG)
                                                                     )
                             Debtors.                                )    (Jointly Administered)
                                                                     )
                                                                     )    Re: Docket No. 391

                        ORDER (I) AUTHORIZING
           AND APPROVING PROCEDURES TO REJECT EXECUTORY
    CONTRACTS AND UNEXPIRED LEASES AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”) (a) authorizing and approving

procedures (as described in the Motion, the “Rejection Procedures”) for rejecting executory

contracts and unexpired leases (each, a “Contract,” and collectively, the “Contracts”) and

(b) granting related relief, all as more fully set forth in the Motion; and upon the First Day

Declaration; and the district court having jurisdiction under 28 U.S.C. § 1334, which was referred

to this Court under 28 U.S.C. § 157 pursuant to the Amended Standing Order of Reference from

the United States District Court for the District of Delaware, dated February 29, 2012; and this

Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court

having found that this Court may enter a final order consistent with Article III of the United States

Constitution; and this Court having found that venue of this proceeding and the Motion in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the



1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and this Court having found that the Debtors’ notice of the Motion and

opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having reviewed the Motion; and this Court having determined that the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; and upon all

of the proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted on a final basis as set forth herein.

       2.      The following procedures (the “Rejection Procedures”) are approved in connection

with rejecting Contracts:

                   a. Rejection Notice. The Debtors shall file one or more notices, substantially
                      in the form attached hereto as Exhibit 1 (each, a “Rejection Notice”), to
                      reject a Contract or Contracts pursuant to section 365 of the Bankruptcy
                      Code, which Rejection Notice(s) shall set forth, among other things, with
                      respect to each Contract listed on the Rejection Notice: (i) the Contract or
                      Contracts to be rejected; (ii) the Debtor or Debtors party to such Contract;
                      (iii) the names and addresses of the counterparties to such Contract; (iv) the
                      proposed effective date of the rejection for such Contract (the “Rejection
                      Date”); and (v) if such Contract is a lease related to real property and/or
                      improvements on real property, (A) the location and summary description
                      of any personal property owned by the Debtors to be abandoned, if any, that
                      is located on or within the real property and/or improvements
                      (the “Abandoned Property”), and (B) the location and summary description
                      of any personal property, including Rolling Stock and equipment, that is
                      owned by any non-Debtor third party and located on or within the real
                      property and/or improvements (the “Non-Debtor Personal Property”). The
                      Rejection Notice shall also set forth the deadlines and procedures for filing
                      objections to the Rejection Notice (as set forth below). Each Rejection
                      Notice may list multiple Contracts; provided that the number of
                      counterparties to Contracts listed on any one Rejection Notice shall be
                      limited to no more than 100. To the extent reasonably practical, the Debtors
                      shall provide the professionals for the Committee, the Junior DIP Lender,
                      the B-2 Lenders, the Prepetition ABL Agent, and the United States
                      Department of the Treasury (collectively, the “Consultation Parties”), with
                      advance notice before filing any Rejection Notice. For the avoidance of
                      doubt, the Debtors may serve multiple Rejection Notices, as long as the
                      counterparties listed on each notice are limited to no more than 100.
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                 b.      Service of Rejection Notices. The Debtors will cause each Rejection Notice
                         to be served: (i) via email, if available, and by overnight delivery service
                         upon (a) the Contract counterparties affected by such Rejection Notice
                         (each, a “Rejection Counterparty”) at the notice address provided in the
                         applicable Contract (and upon such Rejection Counterparty’s counsel, if
                         known), and (b) any non-Debtor third party that owns Non-Debtor Personal
                         Property located on or within the real property and/or improvements that
                         are being rejected (and upon such party’s counsel, if known); and (ii) by
                         first class mail, email, or fax upon: (a) the U.S. Trustee; (b) the Committee
                         and Akin Gump Strauss Hauer & Feld LLP as proposed counsel to the
                         Committee; (c) the office of the attorney general for each of the states in
                         which the Debtors operate; (d) United States Attorney’s Office for the
                         District of Delaware; (e) the Internal Revenue Service; (f) the United States
                         Securities and Exchange Commission; (g) the Junior DIP Lender and
                         counsel thereto; (h) the Junior DIP Agent and counsel thereto; (i) White &
                         Case LLP, as counsel to the B-2 Lenders; (j) the Prepetition ABL Agent and
                         counsel thereto; (k) the B-2 Agent and counsel thereto; (l) the Prepetition
                         UST Tranche A Agent and counsel thereto; (m) the Prepetition UST
                         Tranche B Agent and counsel thereto; (n) the United States Department of
                         Justice and Arnold & Porter Kaye Scholer LLP as counsel to the United
                         States Department of the Treasury; and (o) any party that has requested
                         notice pursuant to Bankruptcy Rule 2002 (collectively, the “Master Notice
                         Parties”).

                 c.      Objection Procedures. Parties objecting to a proposed rejection must file
                         and serve a written objection3 so that such objection is filed with the Court
                         on the docket of the Debtors’ chapter 11 cases and actually received by the
                         following parties (collectively, the “Objection Service Parties”) no later
                         than fourteen (14) calendar days after the date the Debtors file and serve the
                         relevant Rejection Notice (the “Rejection Objection Deadline”): (i) the
                         Debtors, Yellow Corporation, 11500 Outlook Street, Suite 400, Overland
                         Park, Kansas 66211, Attn.: General Counsel; (ii) proposed counsel to the
                         Debtors, (A) Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois,
                         60654, Attn.: Whitney Fogelberg (whitney.fogelberg@kirkland.com) and
                         Rob Jacobson (rob.jacobson@kirkland.com) and Kirkland & Ellis LLP, 601
                         Lexington Avenue, New York, New York 10022, Attn.: Allyson B. Smith
                         (allyson.smith@kirkland.com) and (B) Pachulski Stang Ziehl & Jones LLP,
                         919 North Market Street, 17th Floor, PO Box 8705, Wilmington, Delaware
                         19801, Attn.: Laura Davis Jones (ljones@pszjlaw.com), Timothy P. Cairns
                         (tcairns@pszjlaw.com), Peter J. Keane (pkeane@pszjlaw.com), and
                         Edward Corma (ecorma@pszjlaw.com); (iii) the Office of the United States
                         Trustee for the District of Delaware, 844 King Street, Suite 2207, Lockbox
                         35, Wilmington, Delaware 19801, Attn.:                        Jane Leamy
                         (jane.m.leamy@usdoj.gov)            and         Richard          Schepacarter

3   An objection to the rejection of any particular Contract listed on a Rejection Notice shall not constitute an
    objection to the rejection of any other Contract listed on such Rejection Notice.

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       (richard.schepacarter@usdoj.gov); (iv) proposed counsel to the Committee,
       (A) Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, Bank of
       America Tower, New York, NY 10036-6745 US, Attn.: Philip C. Dublin
       (pdublin@akingump.com), Meredith A. Lahaie (mlahaie@akingump.com),
       and Kevin Zuzolo (kzuzolo@akingump.com) and (B) proposed co-counsel
       to the Committee, Benesch Friedlander Coplan & Aronoff LLP, 1313 North
       Market Street, Suite 1201, Wilmington, DE, 19801, Attn.: Jennifer R.
       Hoover (jhoover@beneschlaw.com) and Kevin M. Capuzzi
       (kcapuzzi@beneschlaw.com); (v) counsel to the Junior DIP Lender,
       (A) Quinn Emmanuel Urquhart & Sullivan, 865 S. Figueroa St., 10th Floor,
       Los Angeles, CA 90017, Attn.: Eric Winston (ericwinston
       @quinnemanuel.com) and 51 Madison Avenue, 22nd Floor, New York, NY
       10010, Attn.: Susheel Kirplani (susheelkirpalani@quinnemanuel.com) and
       (B) Ropes & Gray LLP, 191 North Wacker Drive, 32nd Floor, Chicago, IL
       60606, Attn.: Lucas S. Smith (Luke.Smith@ropesgray.com) and 1211
       Avenue of the Americas, New York, NY 10036, Attn.: Natasha S. Hwangpo
       (Natasha.Hwangpo@ropesgray.com); (vi) counsel to the Junior DIP Agent,
       Holland & Knight LLP, 50 N. Riverside Plaza, Suite 2700, Chicago, IL
       60606, Attn.: Joshua M. Spencer (Joshua.Spencer@hklaw.com) and Phillip
       W. Nelson (Phillip.Nelson@hklaw.com); (vii) counsel to the B-2 Lenders,
       White & Case LLP, 1221 Avenue of the Americas, New York, NY 10020
       Attn.: Scott Greissman (sgreissman@whitecase.com), Elizabeth Feld
       (efeld@whitecase.com), and Andrew Zatz (azatz@whitecase.com);
       (viii) counsel to the Prepetition ABL Agent, Choate, Hall & Stewart LLP,
       Two International Place, Boston, MA 02110, Attn.: Kevin Simard
       (ksimard@choate.com) and Hampton Foushee (hfoushee@choate.com);
       (ix) counsel to the B-2 Agent, Holland & Knight LLP, 50 N. Riverside
       Plaza, Suite 2700, Chicago IL 60606, Attn.: Joshua M. Spencer
       (Joshua.Spencer@hklaw.com) and Phillip W. Nelson (Phillip.Nelson
       @hklaw.com); (x) counsel to the Prepetition UST Tranche A Agent, Hogan
       Lovells US LLP, 390 Madison Avenue, New York, New York 10017, Attn.:
       Ronald J. Silverman and Christopher R. Bryant; (xi) counsel to the
       Prepetition UST Tranche B Agent, Hogan Lovells US LLP, 390 Madison
       Avenue, New York, NY 10017, Attn.: Ronald J. Silverman
       (ronald.silverman@hoganlovells.com) and Christopher R. Bryant
       (chris.bryant@hoganlovells.com); (xii) counsel to the United States
       Department of the Treasury, Arnold & Porter Kaye Scholer LLP, 70 West
       Madison Street, Suite 4200, Chicago, IL 60602, Attn.: Michael
       Messersmith (michael.messersmith@arnoldporter.com), 250 West 55th
       Street, New York, NY 10019, Attn.: Benjamin Mintz
       (benjamin.mintz@arnoldporter.com), and 601 Massachusetts Ave., N.W.,
       Washington, DC 20001, Attn.: Rosa Evergreen (rosa.evergreen
       @arnoldporter.com); and (xiv) the United States Department of Justice,
       1100 L St NW Rm 7102, Washington, DC 20005-4035, Attn.: I-Heng.Hsu
       (I-Heng.Hsu@usdoj.gov) and Crystal Geise (Crystal.Geise@usdoj.gov).


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  d.   No Objection Timely Filed. If no objection to the rejection of any Contract
       is timely filed, each Contract listed in the applicable Rejection Notice shall
       be rejected as of the Rejection Date set forth in the Rejection Notice or such
       other date as the Debtors and the counterparty or counterparties to such
       Contract(s) agree; provided that the effective date of a rejection of a
       nonresidential real property lease shall not occur until the later of (i) the
       date the Debtors file and serve a Rejection Notice for such lease, (ii) the
       Rejection Date set forth in the Rejection Notice, and (iii) the date the
       Debtors relinquish control of the premises by notifying the affected landlord
       in writing of the Debtors’ surrender of the premises and (A) turning over
       keys, key codes, and security codes, if any, to the affected landlord or
       (B) notifying the affected landlord in writing that the keys, key codes, and
       security codes, if any, are not available, but the landlord may rekey the
       leased premises.

  e.   Unresolved Timely Objections. If one or more objections to the rejection
       of any Contract(s) listed in the applicable Rejection Notice is timely filed
       and properly served as specified above and not withdrawn or resolved, the
       Debtors shall file a notice for a hearing to consider the rejection of the
       Contract(s) implicated by such objection(s) and shall provide at least
       seven (7) days’ notice of such hearing to each objecting party and the
       Objection Service Parties. If any such objection is overruled or withdrawn,
       the Contract(s) that are the subject of such objection shall be rejected as of
       the Rejection Date set forth in the Rejection Notice or such other date as
       agreed by the parties or determined by the Court as set forth in any entered
       order.

  f.   No Application of Security Deposits. If the Debtors have deposited monies
       with a Rejection Counterparty as a security deposit or other arrangement,
       such Rejection Counterparty may not setoff, recoup, or otherwise use such
       deposit without the prior approval of the Court, unless the Debtors and the
       applicable Rejection Counterparty otherwise agree; provided that the
       Debtors shall provide not less than two (2) business days’ notice to the
       professionals to the Consultation Parties prior to consenting to a setoff or
       recoupment with respect to any single deposit of more than $50,000.

  g.   Abandoned Property. The Debtors are authorized, but not directed, at any
       time on or before the applicable Rejection Date, to remove or abandon, at
       their option, any of the Debtors’ personal property that may be located on
       the Debtors’ leased premises that are subject to a rejected Contract and is
       (a) of minimal or no material value or benefit to the Debtors’ estates and/or
       (b) burdensome insofar as the costs and expenses of removal and storage of
       such property are likely to exceed the net proceeds realizable from their
       sale. The Debtors shall generally describe the Abandoned Property in the
       applicable Rejection Notice and their intent to abandon such property.
       Absent a timely objection, any and all Abandoned Property located on the
       Debtors’ leased premises on the Rejection Date of the applicable lease of

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                      non-residential real property shall be deemed abandoned pursuant to
                      section 554 of the Bankruptcy Code, as is, effective as of the Rejection
                      Date. After the Abandoned Property is deemed abandoned pursuant to
                      section 554 of the Bankruptcy Code, the applicable Contract counterparty
                      or counterparties may, in their sole discretion and without further order of
                      this Court, utilize and/or dispose of such property without liability to the
                      Debtors or third parties and, to the extent applicable, the automatic stay is
                      modified to allow such disposition. To the extent the Debtors’ reject a
                      non-residential real property lease and there is Non-Debtor Personal
                      Property located on the premises, the Debtors shall, in accordance with
                      Section 2(b) hereof, serve a copy of the Rejection Notice on said parties and
                      within three (3) business days of filing a Rejection Notice. Further, the
                      Debtors will make reasonable efforts to contact any third parties that may
                      be known to the Debtors to have a property interest in such Non-Debtor
                      Personal Property and such third parties shall be provided reasonable access
                      to the leased premises and reasonable time and opportunity to retrieve their
                      respective Non-Debtor Personal Property from the premises prior to the
                      effectiveness of any Rejection Date. For the avoidance of doubt, such
                      Non-Debtor Personal Property is not abandoned and is not free and clear of
                      any Liens, claims, encumbrances, interests, and rights of its non-Debtor
                      owners.

              h.      Proofs of Claim. Claims arising out of the rejection of Contracts, if any,
                      must be filed on or before the later of (i) the applicable deadline for filing
                      proofs of claim established in these chapter 11 cases, and (ii) thirty
                      (30) days after the later of (A) the effective Rejection Date and (B) the date
                      the Debtors relinquish control of the premises by notifying the affected
                      landlord in writing of the Debtors’ surrender of the premises. If no proof of
                      claim is timely filed, such claimant shall be forever barred from asserting a
                      claim for damages arising from the rejection and from participating in any
                      distributions on such a claim that may be made in connection with these
                      chapter 11 cases.

              i.      Removal from Schedule. The Debtors reserve the right to remove any
                      Contract from the schedule to any Rejection Notice after consultation with
                      the Consultation Parties at any time prior to the later of the Rejection Date
                      or the date of entry of an order of the Court approving the rejection.

       3.     For the avoidance of doubt, Non-Debtor Personal Property shall not be deemed or

constitute Abandoned Property.

       4.     Approval of the Rejection Procedures and this Order will not prevent the Debtors

from seeking to reject a Contract by separate motion.



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       5.       To the extent of any conflict between this Order and the De Minimis Asset Order,

the De Minimis Asset Order shall control.

       6.       Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity, priority, or

amount of any particular claim against a Debtor entity; (b) a waiver of the Debtors’ or any other

party in interest’s right to dispute any particular claim on any grounds; (c) a promise or requirement

to pay any particular claim; (d) an implication or admission that any particular claim is of a type

specified or defined in this Order or the Motion; (e) a request or authorization to assume any

agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) a waiver or

limitation of the Debtors’ or any other party in interest’s rights under the Bankruptcy Code or any

other applicable law; or (g) a concession by the Debtors or any other party in interest that any liens

(contractual, common law, statutory, or otherwise) satisfied pursuant to this Order are valid and

the Debtors and all other parties in interest expressly reserve their rights to contest the extent,

validity, or perfection or to seek avoidance of all such liens. Any payment made pursuant to this

Order should not be construed as an admission as to the validity, priority, or amount of any

particular claim or a waiver of the Debtors’ or any other party in interest’s rights to subsequently

dispute such claim.

       7.       All rights and defenses of the Debtors are preserved, including all rights and

defenses of the Debtors with respect to a claim for damages arising as a result of a Contract

rejection, including any right to assert an offset, recoupment, counterclaim, or deduction. In

addition, nothing in this Order or the Motion shall limit the Debtors’ ability to subsequently assert

that any particular Contract is terminated and is no longer an executory contract or unexpired lease,

respectively.


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       8.      To the extent that the Debtors propose to abandon any Personal Property that may

contain “personally identifiable information,” as that term is defined in section 101(41A) of the

Bankruptcy Code, or other personal and/or confidential information about the Debtors’ employees

and/or customers, or any other individual (the “Confidential Information”), the Debtors shall

remove the Confidential Information from such Personal Property before such abandonment.

       9.      The Debtors are not authorized to abandon, and are directed to remove, any

hazardous materials defined under applicable law from any nonresidential real property subject to

a rejected Contract as, and to the extent they are, required to do so by applicable law.

       10.     Notice of the Motion as provided therein constitutes good and sufficient notice of

such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       11.     Notwithstanding Bankruptcy Rule 6004(h), to the extent applicable, the terms and

conditions of this Order are immediately effective and enforceable upon its entry.

       12.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       13.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




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                       EXHIBIT 1

                     Rejection Notice
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )    Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )    Case No. 23-11069 (CTG)
                                                                     )
                             Debtors.                                )    (Jointly Administered)
                                                                     )
                                                                     )    Re: Docket No. __

                           NOTICE OF REJECTION OF [A]
             CERTAIN EXECUTORY CONTRACT[S] [AND/OR UNEXPIRED LEASES]

PARTIES RECEIVING THIS NOTICE SHOULD LOCATE THEIR NAMES AND THEIR
CONTRACTS OR LEASES ON EXHIBIT 1 ATTACHED HERETO AND READ THE
CONTENTS OF THIS NOTICE CAREFULLY.

             PLEASE TAKE NOTICE that on [____________], 2023, the United States Bankruptcy

Court for the District of Delaware (the “Court”) entered an order on the motion (the “Motion”)2 of

debtors and debtors in possession (the “Debtors”), approving procedures for the rejection of

executory contracts and unexpired leases and granting related relief [Docket No. ____]

(the “Procedures Order”).

             PLEASE TAKE FURTHER NOTICE that, pursuant to the Procedures Order and by this

written notice (this “Rejection Notice”), the Debtors hereby notify you that they have determined,

in the exercise of their business judgment, that each Contract set forth on Exhibit 1 attached hereto

is hereby rejected effective as of the date set forth in Exhibit 1 (the “Rejection Date”), or such

other date as the Debtors and the counterparty or counterparties to any such Contract agree.



1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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       PLEASE TAKE FURTHER NOTICE that parties seeking to object to the proposed

rejection of any of the Contracts must file and serve a written objection so that such objection is

filed with the Court on the docket of the Debtors’ chapter 11 cases and is actually received by the

following parties no later than fourteen (14) calendar days after the date that the Debtors served

this Notice: (i) the Debtors, Yellow Corporation, 11500 Outlook Street, Suite 400, Overland Park,

Kansas 66211, Attn.: General Counsel; (ii) proposed counsel to the Debtors, (A) Kirkland & Ellis

LLP,    300    North    LaSalle,    Chicago,    Illinois,   60654,   Attn.: Whitney     Fogelberg

(whitney.fogelberg@kirkland.com) and Rob Jacobson (rob.jacobson@kirkland.com) and

Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn.: Allyson B.

Smith (allyson.smith@kirkland.com) and (B) Pachulski Stang Ziehl & Jones LLP, 919 North

Market Street, 17th Floor, PO Box 8705, Wilmington, Delaware 19801, Attn.: Laura Davis Jones

(ljones@pszjlaw.com),     Timothy     P.   Cairns   (tcairns@pszjlaw.com),     Peter   J.   Keane

(pkeane@pszjlaw.com), and Edward Corma (ecorma@pszjlaw.com); (iii) the Office of the United

States Trustee for the District of Delaware, 844 King Street, Suite 2207, Lockbox 35, Wilmington,

Delaware 19801, Attn.:      Jane Leamy (jane.m.leamy@usdoj.gov) and Richard Schepacarter

(richard.schepacarter@usdoj.gov); (iv) proposed counsel to the Committee, (A) Akin Gump

Strauss Hauer & Feld LLP, One Bryant Park, Bank of America Tower, New York, NY 10036-

6745 US, Attn.: Philip C. Dublin (pdublin@akingump.com), Meredith A. Lahaie

(mlahaie@akingump.com), and Kevin Zuzolo (kzuzolo@akingump.com) and (B) proposed co-

counsel to the Committee, Benesch Friedlander Coplan & Aronoff LLP, 1313 North Market Street,

Suite 1201, Wilmington, DE, 19801, Attn.: Jennifer R. Hoover (jhoover@beneschlaw.com) and

Kevin M. Capuzzi (kcapuzzi@beneschlaw.com); (v) counsel to the Junior DIP Lender, (A) Quinn

Emmanuel Urquhart & Sullivan, 865 S. Figueroa St., 10th Floor, Los Angeles, CA 90017, Attn.:


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Eric Winston (ericwinston@quinnemanuel.com) and 51 Madison Avenue, 22nd Floor, New York,

NY 10010, Attn.: Susheel Kirplani (susheelkirpalani@quinnemanuel.com) and (B) Ropes & Gray

LLP, 191 North Wacker Drive, 32nd Floor, Chicago, IL 60606, Attn.: Lucas S. Smith

(Luke.Smith@ropesgray.com) and 1211 Avenue of the Americas, New York, NY 10036, Attn.:

Natasha S. Hwangpo (Natasha.Hwangpo@ropesgray.com); (vi) counsel to the Junior DIP Agent,

Holland & Knight LLP, 50 N. Riverside Plaza, Suite 2700, Chicago, IL 60606, Attn.: Joshua M.

Spencer (Joshua.Spencer@hklaw.com) and Phillip W. Nelson (Phillip.Nelson@hklaw.com); (vii)

counsel to the B-2 Lenders, White & Case LLP, 1221 Avenue of the Americas, New York, NY

10020     Attn.:   Scott     Greissman     (sgreissman@whitecase.com),       Elizabeth     Feld

(efeld@whitecase.com), and Andrew Zatz (azatz@whitecase.com); (viii) counsel to the

Prepetition ABL Agent, Choate, Hall & Stewart LLP, Two International Place, Boston, MA 02110,

Attn.: Kevin Simard (ksimard@choate.com) and Hampton Foushee (hfoushee@choate.com);

(ix) counsel to the B-2 Agent, Holland & Knight LLP, 50 N. Riverside Plaza, Suite 2700, Chicago

IL 60606, Attn.: Joshua M. Spencer (Joshua.Spencer@hklaw.com) and Phillip W. Nelson

(Phillip.Nelson@hklaw.com); (x) counsel to the Prepetition UST Tranche A Agent, Hogan Lovells

US LLP, 390 Madison Avenue, New York, New York 10017, Attn.: Ronald J. Silverman and

Christopher R. Bryant; (xi) counsel to the Prepetition UST Tranche B Agent, Hogan Lovells US

LLP, 390 Madison Avenue, New York, NY 10017, Attn.: Ronald J. Silverman

(ronald.silverman@hoganlovells.com)          and         Christopher         R.          Bryant

(chris.bryant@hoganlovells.com); (xii) counsel to the United States Department of the Treasury,

Arnold & Porter Kaye Scholer LLP, 70 West Madison Street, Suite 4200, Chicago, IL 60602,

Attn.: Michael Messersmith (michael.messersmith@arnoldporter.com), 250 West 55th Street,

New York, NY 10019, Attn.: Benjamin Mintz (benjamin.mintz@arnoldporter.com), and 601


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Massachusetts Ave., N.W., Washington, DC 20001, Attn.: Rosa Evergreen (rosa.evergreen

@arnoldporter.com); and (xiv) the United States Department of Justice, 1100 L St NW Rm 7102,

Washington, DC 20005-4035, Attn.: I-Heng.Hsu (I-Heng.Hsu@usdoj.gov) and Crystal Geise

(Crystal.Geise@usdoj.gov). Only those responses that are timely filed, served, and received will

be considered at any hearing.

        PLEASE TAKE FURTHER NOTICE that, absent an objection being timely filed, the

rejection of each Contract shall become effective on the Rejection Date set forth in Exhibit 1, or

such other date as the Debtors and the counterparty or counterparties to such Contract agree.3

        PLEASE TAKE FURTHER NOTICE that, if an objection to the rejection of any

Contract is timely filed and not withdrawn or resolved, the Debtors shall file a notice for a hearing

to consider the objection for the Contract or Contracts to which such objection relates. If such

objection is overruled or withdrawn, such Contract or Contracts shall be rejected as of the

Rejection Date set forth in Exhibit 1 or such other date as the Debtors and the counterparty or

counterparties to any such Contract agree.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Procedures

Order, if the Debtors have deposited monies with a Contract counterparty as a security deposit or

other arrangement, the Contract counterparty may not set off or recoup or otherwise use such

monies without further order of the Court, unless the Debtors and the counterparty or

counterparties to such Contracts otherwise agree.




3   An objection to the rejection of any particular Contract listed in this Rejection Notice shall not constitute an
    objection to the rejection of any other contract or lease listed in this Rejection Notice. Any objection to the
    rejection of any particular Contract listed in this Rejection Notice must state with specificity the Contract to which
    it is directed. For each particular Contract whose rejection is not timely or properly objected to, such rejection
    will be effective in accordance with this Rejection Notice and the Order.


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       PLEASE TAKE FURTHER NOTICE that, absent timely objection, any personal

property of the Debtors that is listed and described in Exhibit 1 shall be deemed abandoned as of

the Rejection Date. For the avoidance of doubt, any personal property that is owned by non-Debtor

third parties and is located on the premises related to any rejected non-residential real property

lease, including Rolling Stock or equipment that is leased to the Debtors, shall not be deemed

abandoned and shall remain subject to all of the rights, claims, and interests of its non-Debtor

owners.

       PLEASE TAKE FURTHER NOTICE that, to the extent you wish to assert a claim with

respect to rejection of your Contract or Contracts, you must do so by the later of (a) the applicable

deadline for filing proofs of claim established in these chapter 11 cases and (b) thirty

(30) days after the later of (i) the effective Rejection Date and (ii) the date the Debtors relinquish

control of the premises by notifying you in writing of the Debtors’ surrender of the premises. IF

YOU FAIL TO TIMELY SUBMIT A PROOF OF CLAIM IN THE APPROPRIATE FORM BY

THE DEADLINE SET FORTH HEREIN, YOU WILL BE, FOREVER BARRED, ESTOPPED,

AND ENJOINED FROM (1) ASSERTING SUCH CLAIM AGAINST ANY OF THE DEBTORS

AND THEIR CHAPTER 11 ESTATES, (2) VOTING ON ANY CHAPTER 11 PLAN FILED IN

THESE CASES ON ACCOUNT OF SUCH CLAIM, AND (3) PARTICIPATING IN ANY

DISTRIBUTION IN THE DEBTORS’ CHAPTER 11 CASES ON ACCOUNT OF SUCH

CLAIM.


                            [Remainder of page intentionally left blank]




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Dated: [●], 2023
Wilmington, Delaware

/s/ DRAFT
Laura Davis Jones (DE Bar No. 2436)   Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)   David Seligman, P.C. (admitted pro hac vice)
Peter J. Keane (DE Bar No. 5503)      Whitney Fogelberg (admitted pro hac vice)
Edward Corma (DE Bar No. 6718)        KIRKLAND & ELLIS LLP
PACHULSKI STANG ZIEHL & JONES LLP     KIRKLAND & ELLIS INTERNATIONAL LLP
919 North Market Street, 17th Floor   300 North LaSalle
P.O. Box 8705                         Chicago, Illinois 60654
Wilmington, Delaware 19801            Telephone:       (312) 862-2000
Telephone:      (302) 652-4100        Facsimile:       (312) 862-2200
Facsimile:      (302) 652-4400        Email:           patrick.nash@kirkland.com
Email:          ljones@pszjlaw.com                     david.seligman@kirkland.com
                tcairns@pszjlaw.com                    whitney.fogelberg@kirkland.com
                pkeane@pszjlaw.com
                ecorma@pszjlaw.com    -and-

                                      Allyson B. Smith (admitted pro hac vice)
                                      KIRKLAND & ELLIS LLP
                                      KIRKLAND & ELLIS INTERNATIONAL LLP
                                      601 Lexington Avenue
                                      New York, New York 10022
                                      Telephone:     (212) 446-4800
                                      Facsimile:     (212) 446-4900
                                      Email:         allyson.smith@kirkland.com

                                      Proposed Co-Counsel for the Debtors and Debtors in
                                      Possession
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                                                   EXHIBIT 1

                                              Rejected Contracts


                                                                                    Abandoned
                               Debtor                  Description of           Personal Property,
Counterparty                 Counterparty               Contract1                  if Applicable            Rejection Date




1   The inclusion of a Contract on this list does not constitute an admission as to the executory or non-executory
    nature of the Contract, or as to the existence or validity of any claims held by the counterparty or counterparties
    to such Contract.
